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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


  PUBLIC CITIZEN, INC.,

                           Plaintiff,

                    v.                                 Civil Action No. 17-CV-1938 (CRC)

  UNITED STATES DEPARTMENT
  OF LABOR,


                           Defendant.


                                        JOINT STATUS REPORT

          Pursuant to the Court’s order of July 17, 2018, plaintiff Public Citizen, Inc. and defendant

United States Department of Labor (“DOL”) (collectively, “the Parties”) submit this Joint Status

Report.

                                           BACKGROUND

          On September 22, 2017, plaintiff filed a complaint under the Freedom of Information Act

(“FOIA”). On October 25, 2017, defendant answered. Plaintiff sought records from the Office of

the Assistant Secretary for Policy (ASP), the Occupational Safety and Health Administration

(OSHA) and the Mine Safety and Health Administration (MSHA).

                         REPORT ON THE PROGRESS OF PRODUCTION

          With respect to ASP, DOL released all responsive documents by December 15, 2017.

          With respect to MSHA, there were three productions of responsive documents, and DOL

provided all responsive MSHA documents by May 24, 2018.

          With respect to OSHA there have been five rolling releases of OSHA documents. The fifth

release of OSHA documents completed OSHA’s agreement to produce all responsive records from
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OSHA’s senior leadership first. Following the fifth OSHA release, the parties have conferred and

set a schedule for release of the remaining OSHA documents.

       The Parties propose the following schedule:

       •    Defendant shall review approximately 750 pages of OSHA records and produce
            responsive pages by September 14, 2018;

       •    Thereafter, defendant shall review approximately 500 pages of OSHA records per
            month and produce responsive pages, with the first production occurring on October
            15, 2018.

       Defendant has agreed to produce email records with the names of attachments—not the

attachments themselves, which will be produced only as requested by plaintiff.

       In light of the above, the Parties request to file another Joint Status Report on

October 19, 2018.

Dated: July 27, 2018                        Respectfully submitted,

   /s/                 _
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